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IN THE UNITED sTATEs DISTRICT cOURT ""'ED BY'* '
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTER.N DIvIsIoN 05 JUL |'4 PH h= 53
UNITED sTATES oF AMERICA * R'|OWSM.GOMD
Plaintiff , * C{.ERK. U,S. WSTR¥CTMT
* W/D 535 1515 ‘1»`5-1%5°5'558
vs. * cR. No. 2:91~20249-M1
*
cLARENCE STEVEN JAMES *
Defendant, *

 

ORDER I'IOLDING PROBATIONER FOR REVOCA'I‘ION HEARING

 

On June 23, 2005, Clarence Steven James appeared before on
a charge of violation of the terms and conditions of
probation/supervised release in this matter. The defendant was
advised of his/her rights under FRCrP 5 and 32.l(a) (l).
At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.
Accordingly, defendant Clarence Steven James is held to a
final revocation hearing, to be set on notice from the United
States District Court and in accordance with the provisions of Rule

32.l(a) (2), Federal Rules of Criminal Procedure.

I'I' IS SO ORDERED this ad day Of %% , 2005.

,___.
/h .r
UNITED STATES MAGISTRATE JUDGE

Thls document entered en the docket sheet igoemp|lance

with nule 55 and/or az(b) mch on 7'[5/05/

 

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This notice confirms a copy of the document docketed as number 85 in
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Honorable J on McCalla
US DISTRICT COURT

